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                                                                                                                                                 fr
                     l2l16) Complaint for   a   Civil Case




                                                  Umrno Srarps Drsrrucr CoURT                                            APn   ls \otsw
                                                                            for the

                                                                  Northern District of Illinois                  .H8ffi$8f,ffi8il*
                                                                        Civil Division

                                                                                      l:19<v42622
                                                                                      Judge Robert W. Gettleman
                                Jerlean Shack                                         Magbtrate Judge Sidney L Schenkier
                                    Plaintiff(s)
(Write the full name of each plaintiffwho is filing this complaint.
If the nanes of all the plaintiffs cannot/it in the space above,
please write "see attached" in the space and attach an additional
                                                                                      JuryTrial: @heckone)   ffi Yes n   No
page with thefull list of names.)




                             Equifax, lnc., et al
                                  Defendant(s)
(tYrite the      name of each defendant who is being sued. If the
              full
names ofall the defendants cannotfit in the space above, please
write "see attached" in the space and attach an additional page
with the full list of names.)



                                                             COMPLAINT F'OR A CTVIL CASE

I.            The Parties to This Complaint
              A.          The Plaintiff(s)

                          Provide the information below for each plaintiffnamed in the complaint. Attach additional pages        if
                          needed.

                                     Name                                Jerlean Shack
                                     Street Address                      7944 South Oelesby Avenue
                                     Citv and County                     Chicaso, Cook
                                     State and Zip Code                  Illinois 60617
                                     Telephone Number                    I(3 r 2)3s r -r 006
                                     E-mail Address                      i_elgeq. sbqg\e lford@ gmail. com




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            B.         The Defendant($)

                       Provide the information below for each defendant named in thecomplainl whether the defendant is an
                       individual, a government agency, an organization, or a corporation. For an individual defendant,
                       include the person's job or title gf known). Attach additional pages if needed.
                       Defendant No. I
                                 Name                        EquifoL Inc.
                                 Job or Title (if aown)
                                 Street Address              I   550 Peachtree Street Northwest
                                 City and Coun8              Atlanta" Fulton County
                                 State and Zip Code          Georeia 30309
                                 Telephone Number            404-885-8000
                                 E-mail Address (if tuown)


                      Defendant No. 2
                                 Name
                                 Job or Title Gftonwn)
                                 Street Address
                                 Citv and County
                                 State and Zip Code
                                 Telephone Number
                                 E-mail Address (if known)


                      Defendant No. 3
                                Name
                                Job or Tiile (tf known)
                                Skeet Address
                                Citv and CounW
                                State and Zip Code
                                TelephoneNumber
                                E-mail Address (if torcwn)


                     DefendantNo.4
                                Name
                                Job or Title 6f btown)
                                Street Address
                                Citv and County
                                State and Zip Code
                                Telephone Number




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                                      E-mail Address (if       known)



tr            Basis for Jurisdiction

              Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
              heard in federal court cases involving a federal question and cases involving diversity of citizenship ofthe
              parties. Under 2E U.S.C. $ 1 33 l, a case arising under fire Unitd States Constitution or federal laws or tneaties
              is a federal question case. Under 28 U.S.C. $ 1332, a case in which a citizen of one State sues a citizen of
              anotlrcr State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
              diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

               What is the basis for ffieral court jurisdiction? (cluckall tlnt             apply)

                       f]    feaerat    question                         ffi Diversity of citizenship

              Fill out the paragraphs in this section that apply to this case.

              A.            If   the Basis forJurisdiction Is e Federal Question

                            List the spcific federal statut€s, federal trreatieq and/orprovisions of the United States Coastitution that
                            are at issue in this case.




              B.            If   the Basis for Jurisdiction Is Diversity of Citizenship

                            l.        ThePlaintifls)

                                      a.          If the plaintiffis an individual
                                                  Theplantiff, fuame)     Jerlean Shack                             , is a citizen of the
                                                  State of   hame) Illinois


                                      b.          If the plaintiffis a eorporation
                                                  The plaintiff, /aanp)                                             , is incorpo,rated
                                                  under the laws of the State of   (name)

                                                  and has its principal place of business in the State af {name)




                                      (If more than ane plaintiffis named in the complaint, attach an additional page providing the
                                      same informaion for e ach additional plaintifi,)

                            2.        The Defendan(s)

                                      a.          If the defendant is an individual



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                                                  Thedefendanl       /namel                                        , is a citizen   of
                                                  the State of (nane)                                            Or is a citizen    of
                                                   (foreisn mtion)



                                     b.           Ifthe defendant is a corporation
                                                  The defendant,    Ororre) Equifall Inc.                      , is incorporated under
                                                  tlre laws of the State of (name) Georgia                                , and has its
                                                  principal place of business in the State of fuame) Atlanta
                                                  Or is incorporated underthe laws of foreisrrMtion)
                                                  and has its principal place of business in r,nome)


                                     (If more thmt one detendo* is named in the complaint, attach an additional page providing the
                                     same informatian for each additional defendant.)

                           3.        The Amount in Controversy

                                     The amount in controversy-the amount the plaintiffclaims the defendant owes orthe amount at
                                     staks-is more than $75,000, not counting interest and costs of cour! because (explain):
                                      Equifax, Inc. has willingly, knowingly, intentionally, or voluntarily agreed and acguiesced
                                      through its non-response to the facts stated in the Conditional Acceptance/ Affidavits sen! and
                                      is thelefore in deftult under contract. Equifax has also admitted to the data breach which has
                                      affected and ir{urcd me personally.



m.            Statement of Claim

              Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
              facts showing that each plaintiffis entitled to the damages or other relief sought. State how each defe,ndant was
              involved and what each defendant did that caused the plaintiffharm or violated &e plaintiffs rights, including
              the dates and places of that involvement or conduct. If more &an one claim is asserted, number each claim and
              write a short and plain statement of each claim in a separate paragraph, Afiach additional pages if needed.
              See aftached exhausted/ completed adminishative rerredy/ procedure: Conditional Acceptance, Notice of Fault
              & Opporuhity to Cure and subsqeuent Affidavit and Notice of kfault Plaintiffhas exhausted hidtrer private
              Admiministrative remedy/procedure and through the Defendents non-response, acceptance and commerical
              aquiescense of the facts as outlined in the Affidavit and Notice of Default. Defendents were afforded
              commercial grace and an opportmity to provide the requested proofs of claims and fuiled to provide proofsof
             claim as enumerated in the Conditioaal Acceptance sent to kfendant via certified mail
             #70170660000099441505 and received by Defendanton February zs,20lg.Defendents were then sent aNotice
             of Fault and Opportunity to Cure the fault and failed to respnd. Through Defendents non-r€sponse and silence,
             the Defendans have quietly agreed to all of the facts as outlined in the Notice of Default. Therefore the Plaintiff
             states a superior claim upon which relief can be granted and &e Defedants fail to state a claim upon which relief
             can be granted.




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ry.           Relief

              State briefly and precisely what damage or other relief the plaintiffasks the court to order. Do not make legal
              arguments. lnclude flny basis for claiming that the wrotrgs alleged are continuing at the present time. Include
              the amounts of any actual damages claimed forthe acts alleged and the basis forthese ernounts. Include any
              punitive or exemplary damages claime4 the amounts, and the raasons you claim you are entitled to achral or
              punitive money damages.
              Plaintiffprays forrelief as follows $75,000,000.00 ageed to and aquiesced by Equifaa Inc through the Platinfiff
              exahasuting her private adminishative remedy through request proofs of claim, Equifalr, Inc's subsequent non-
              response to the Notice of Fault and Opportunity to Cure and subsequent non-r€spotrsc and suhequent Default as
              a result of Equifax, Inc, willful failure to repond. Plaintiffalso pray for triple damages, punitive damagps and
              all court cos8.



v.            Certification and Clming

              Under Federal Rule of Civil Procedure 11, by signing below, I certiff to the best of my knowledge, information,
              and belief that this complaint: (1) is not being presented for an improper pupose, such as to harasq cause
              unnec€ssary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
              nonfrivolous argument for extending modifying or reversing existing law; (3) the factual contentions have
              evidentiary support or, if specifically so identified will likely have evidentiary support after a rcasonable
              opportunity for firther inve.stigation or discovery; and (4) the complaint otherwise complies with the
              requirements of Rule I l.

              A-         For Parties Without an Attorney

                         I agree to providethe Clerk's Office with any changes to my address where case-related papers may be
                         served. I understandthat my failure to keep a current address on file with the Clert's 0ffice may result
                         in the dismissal of my case.


                         Date of   signing:
                                               A[oi   I   t   el   AO   q
                         Signature of Plaintiff
                         Printed Name of Plaintiff


             B.          For Attorneys

                         Date of signing:


                         Signature ofAttorney
                         Printed Name of Attorney
                         BarNumber
                         Name of Law Firm
                         Street Address




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                          State and Zip Code

                          TelephoneNumber
                          E-mail Address




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